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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

____________________________________
UNITED STATES OF AMERICA,            )
                                     )
            Plaintiff,               )
                                     )
      v.                             )              Criminal Action No. 23-CR-61-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )


                                            ORDER

       At Wilmington this 21st day of June 2023,

       IT IS ORDERED that the defendant shall appear for an initial appearance on

Wednesday, July 26, 2023 at 10:00 AM in Courtroom 4A, J. Caleb Boggs Federal Building,

844 N. King Street, Wilmington, Delaware.




                                                            ______________
                                            UNITED STATES DISTRICT JUDGE
